 Case: 1:14-cr-00287 Document #: 280 Filed: 10/10/18 Page 1 of 1 PageID #:1079

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:14−cr−00287
                                                       Honorable Charles R. Norgle Sr.
Warren N Barr III, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 10, 2018:


        MINUTE entry before the Honorable Charles R. Norgle as to Warren N Barr III:
The probation department shall disclose its sentencing recommendation to both counsel
for the government and the defendant. Mailed notice (ewf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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